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UNITED S'I`ATES DlSTRlCT COURT JUL 2 3 2018 SOUTHERN DISTRIC'I` OF TEXAS
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Motion and Order for Admission Pro Hac Vice

 

 

 

 

 

 

Division Brownsvi||e Case Number 1 :18-cv-0068-ASH

 

STATE OF TEXAS, et al.,

 

VerSUS

UN|TED STATES OF AMER|CA, et a|., and KARLA PEREZ, et a|.,

 

 

 

 

 

 

 

 

 

Lawyer’s Name Juvaria Khan
Flrm Mus|im Advocates
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T§‘;;:;nzel§c%°md:il Washington, Dc 20035
Licensed: State & Number §02-8$7-|(1_896; ]l;va1na@muslrmadvocates.org
Federal Bar & Number ew Or ’ 5027 6
Name Of party applicant Seeks to Proposed Amici Re|igious Organizations
appear for:
Has applicant been sanctioned by any bar association or court? Yes No v/

On a separate sheet for each sanction, please supply the full particulars

 

 

Da*ed¢ 7/17/2018 Signed: /s/Juvaria Khan

 

 

 

 

§ The state bar reports that the applicant’s status is: A Q T l \/ E_
z Dated: 7 ' 2 3 _ la Clerk’s signature W

 

 

 

 

Order

 

 

This lawyer is admitted pro hac vice.

 

Dated:

 

 

United States District Judge

 

